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               6 Attorneys for Defendant
                 UNUM LIFE INSURANCE COMPANY OF
               7 AMERICA
               8                           UNITED STATES DISTRICT COURT
               9                          CENTRAL DISTRICT OF CALIFORNIA
              10
              11 ALMA PARTIDA,                     )                Case No. 2:17-cv-07691 GW (AGRx)
                                                   )
              12                 Plaintiff,        )                STIPULATION TO DISMISS
                                                   )                VANTAGE BENEFITS
              13          vs.                      )                ADMINISTRATOR, INC.
                                                   )
              14   UNUM LIFE INSURANCE COMPANY )                    Hon.: George H. Wu
                   OF AMERICA; VANTAGE BENEFITS )
              15   ADMINISTRATOR, INC., and DOES 1 )                Complaint Filed: October 20, 2017
                   to 10, Inclusive,               )
              16                                   )
                                 Defendants.       )
              17                                   )
              18              IT IS HEREBY STIPULATED by and between Plaintiff ALMA PARTIDA
              19 (“Plaintiff”) and Defendant UNUM LIFE INSURANCE COMPANY OF AMERICA
              20 (“Unum Life”), by and through their respective counsel, as follows:
              21              1.   The Parties agree that this case is governed by the Employee Retirement
              22 Income Security Act of 1974 (“ERISA”), 29 U.S.C. Section 1001, et seq.
              23              2.   Unum    Life   has   confirmed   that   the   VANTAGE         BENEFITS
              24 ADMINISTRATOR, INC. Long Term Disability Plan (the “Plan”) is fully insured
              25 under the policy at issue to insure the benefits for the time period at issue in this case.
              26              3.   In consideration for this Stipulation, Unum Life acknowledges and
              27 agrees that it will be responsible for any judgment relating to disability benefits
              28
LAW OFFICES
 MESERVE,                                                      1               Case No. 2:17-cv-07691 GW (AGRx)
 MUMPER &                                                                  STIPULATION TO DISMISS VANTAGE
HUGHES LLP
                   159963.1
                                                                              BENEFITS ADMINISTRATOR, INC.
          Case 2:17-cv-07691-GW-AGR Document 11 Filed 11/28/17 Page 2 of 2 Page ID #:36




               1 under the Plan, and attorney fees, if awarded, as they relate to Plaintiff based on the
               2 allegations made in the Complaint against Unum Life in the above-entitled action.
               3              4.    The Parties therefore stipulate and request that Defendant VANTAGE
               4 BENEFITS ADMINISTRATOR, INC. be dismissed without prejudice, pursuant to
               5 Rule 41(a)(1)(A)(ii), with the Parties to bear their own attorney fees and costs
               6 directly related to the instant Stipulation and the dismissal of VANTAGE
               7 BENEFITS ADMINISTRATOR, INC. Unum Life shall remain the only named
               8 defendant.
               9              IT IS SO STIPULATED.
              10 Dated: November 28, 2017                   Kevin M. Zietz
                                                            LAW OFFICES OF KEVIN M. ZIETZ, PC
              11
              12
                                                            By:      /s/ Kevin M. Zietz
              13                                                  Kevin M. Zietz
                                                                  Attorneys for Plaintiff
              14                                                  ALMA PARTIDA
              15
                   Dated: November 28, 2017                 Anna Martin
              16                                            Tatiana Semerjian Nunneri
                                                            MESERVE, MUMPER & HUGHES LLP
              17
              18
                                                            By:      Tatiana Semerjian Nunneri
              19                                                  Tatiana Semerjian Nunneri
              20                                                  Attorneys for Defendant
                                                                  UNUM LIFE INSURANCE
              21                                                  COMPANY OF AMERICA

              22                                    ECF CERTIFICATION

              23              The filing attorney attests that she has obtained concurrence regarding the

              24 filing of this document from the signatories to this document.
              25
              26
              27
              28
LAW OFFICES
 MESERVE,                                                      2                 Case No. 2:17-cv-07691 GW (AGRx)
 MUMPER &                                                                    STIPULATION TO DISMISS VANTAGE
HUGHES LLP
                   159963.1
                                                                                BENEFITS ADMINISTRATOR, INC.
